               Case 14-28869                                          Doc 1             Filed 08/06/14 Entered 08/06/14 14:01:06                                                                Desc Main
                                                                                          Document     Page 1 of 29
Br (Om.i.l Fom                   1)   (0{/13)
                                                                         thit.d 5r.16 &.kuprcy Coun
                                                               \nrrh.rn Di.r?i.r oalllimi. ENrdtr Divi.io.
Nm. ol Debld rif indnidul. mrd t$1. rid. Middle):                                                                             Nd      ofjdinr D.bre (SpoN)       (Ld,       FiFr. Midde):


All Ohcr   Nd.s U*d by na Debld in lne                             ld 3 t.s                                                   All Orhs Nmes U*d by rh' Joinr t).bre ir the l6i              3   y6
(indudc   ndied. nE&r. &d hde Ms)                                                                                             (tncltu(      r!id.n. dd hde n.nes):
                                                                                                                                        'imied.


rd f@ d;gb of sN s.c o Individdl-Tap.y..                                    LD. (ITIN) No /co'4lere EIN                       hr     rou d[ns or   Se Sc.   or   lndirdul.Tapayer I D (ITIN)             No /C.npl.re   IjlN
(irffirh4re,nd.dD:2053
Ster Addrsr          o{ Debtd (No.              .rd Str4r. Oty.       and Srar.)                                              Ster Addr$ ofjoinr DeUd {No ud SlGr,                  City. aid   sttr.)
9846 S. Escanaba Arsruc


chiclco.      Illinois                                                                               lii-ii
Codty of      Rsdre          tr ofrhc P'imipal              Ple     ol   BaN                                                  Cou!     ol   R6d@ n     ofrh. Principrl PIae ofBunn.sr


Msliry addr.s olDebts (if d'lt                       rcnt   lnni   ftt   adde$)                                               Mailiis Addres of Joint D.bror (lfi,rfrceN riom nrer addcs)




Lsard      of RimDd          Ass            of BusiNs        Hrd (fdifrdt rM sN rd.l's $oE)

                      TIF ollbtd                                                                     N.t!F    ofad.*                                        Cliptr          ol arnltupLt Cod. t d.r whi.i
                   (rtmoro'84ztd,                                                                     (Ch.cr  ft bor )                                            rh.       P.rit'd i. Fil.d lchercbo\)
                       (Chst           onc   h.:.)                              tr                                                                I ct',p"' t                  E   (r:p'dr5Peudro,
E     rndiltddal (rf,ludes JonnDeh6)                                            tr    s$gle   Asr R€l      Enarc   s    defitud in
                                                                                                                                                  Ll ch?ok{                        n(oEr      tmip,
                                                                                                                                                                                         'oorr
      S.i E\fi,bt D m otlt -r ufri'. ftff                                                                                                         E cl.F-rr                        Mrn Prcedn4
E     ( uqnmro         r                 I Lc    n!    LLFr
                                                                                                                                                  Ll ch,pci r:                E
                           'n!ldc\                                              B                                                                 LJ ch?pr.r r.r
                                                                                                                                                                                   cbprd15Pd(,qror
                                                                                                                                                                                   Rtupnrmofi            Is.sr
-     uhs ofdchtr                        w
                                otrh..bo!. dtr'cs,
                             n D.                                               D                                                                                                  Nmin Pr..en|g
      chcck   rhB bo\ ed iate rrF ofmriry belos )                               tr
                                                                                tr
                                                                                                                                                                                   (ch*l( €bo\)
                     Chrpt r                                                                         'Iir-f,r..pi E riiy                          E o.tr"* p.-rty.m                        E Etbrs*Fi*ry
                                       15   D.bi0B                                                                                                  debts, dclined in ll Usc                         bBinddctt'
CoDrry oldebrdr cedfl ol nnin                      i   Lcns                                   (ClEck box.      ii!l)plidblc )                       g l0l(3)a! incurcd by ti

Erh cMra       tr!   *hrh             forc,lr    pcai'ns        by.
                                                                                E     o.tm    i. a   ra.**opt    rg,"i-t*                             idn'dal primtly fr a
rclardii!. d ilri'Br
                                 a
                             debtor is p€n ing
                                                                                                                                                      p€'srl. fmly, d hoB-
                                                                                     code (de lnemal R$cnue codo)

                                 lilltld               (Chect      or h,r   )                                                                               Cr:8r ll D.}bB
                                                                                                                                E    Dcbu '! qollbunrc'd.bo' adc5ned II sc !l^l'rlD,
                tu b. p6'd h insralltuic (^ol'carlc io i'd'vdols dly)                                                           Ll   D.hd hnor r qJl b!!ks&&d ad.f n'nd'n I I U s( | l0l(JIDJ
E     !_ndc   Fe
      Mut ana.h sipred qrplrcdior fs rh. cdlnr coDsid.d'm             rhzr rh.          cditiis                d.bM n
      urable ro Dry ree csdDt ii ini.lhnenb Rulc I 00qb) se ofiioi Fom I A                                                      E    o.ur.r" rs!*s"t    nfron"ec             riq idd.d d.hs (erdtrd'ns dcttu M.d ra
                                                                                                                                     iBides c .ffluct &. lc$ $an t?.4e0,925 (MNr                 subj6! h adjlshdr
E     Fn'n! Fe trntrd                             {Applac,ble      ro.lEprd     ?   indNddh    qlr)     M@ ah.ch                     o r/01/16 drl.!rry thG )4 dEEner)
      siFl.d aDolietim '.qG'ed
                        fr rh. md\                      cmidestor se            ofi'rciai rom 31,
                                                                                                                                cbdk tll rppli..bl. hoi.:
                                                                                                                               Q Apb' ,b..sfl",r"ihrh.F .'
                                                                                                                               l-l          or   Dls sm $l(tr.d Fr!<rto                         hm   m    N   nF cbs!
                                                                                                                                   ^rL.rtr.! 'hc
    Suftli.rl^dni.turFftlr od.rid
 E rtiid sridds rur fun& $rll bo al'blr rndsnhtr'm ro 4s1sd cnd m
 E Dcttor cdimats rhll lnd 3ny ex.'npr prop.'g h cicn'd.d and tdniiisrhrlve
       crpens pi(L rh.rc {rll b. m hnls $?'lable ld dirnhnid b llllsd.d ftdrtm
 Enid.d Nu$c!
 tstr                       of   C.cd[m
                                                   tr                    trtr                                      tr                 tr               tr                     tr                tr

 E                     trtr                                              U                    trtr
                                                                                              $_000.001            rr0.000.00r
                                                                                                                                      trtr
                                                                                                                                      JJ0.0m,001      sr1r0.000.001
                                                                                                                                                                              trn
Ettr                                               trtr                                       trtr
                                                                                              !.000,001            310,000.001
                                                                                                                                      trD
                                                                                                                                      t50.m0.00t       I 100.000,00     r
                                                                                                                                                                              ntr
                Case 14-28869                                       Doc 1                         Filed 08/06/14 Entered 08/06/14 14:01:06                                                                                             Desc Main
                                                                                                    Document     Page 2 of 29
Bl (otfxi.l       lor       l) (04/13)                                                                                                                                                                                                              Plt.2
                                                                                                                                                     Nme        orD.hodt: .,mr                     G@slowiak
 (ftb p4.      mue b.   cmpld.d               6H         io    @)
                                                              .v.ry
                                       'nd
                                                          AI lsr a.drqr.t ce fil3l wib Ld I Y-D (ll *                                                                                 rr- r'r .d ddd-l d.*)




                                Pda 8..rnra.tc* fth                                          !r rry Sr.-q               t .r..rddlrr.tta                                       Dr-r(ltmlt                     -.,.!..1.aIH                 i.4)




                                                    f,tribiiA                                                                                                                                                     f,rliii       A
                                                                                                                                                                                                 (Tobecmpldedildchtris indnidul
  Itob..o@ldedlfdchrtsrqun                          dbfiht nodicr.totu(.B.fom                                                                                                                    $hE   d.b6   m pnMily dsuid               d€hs )
  loK   ai     IoQ) *in $c Sdriti6      ad E\.holcC@Esi@ p'l'l@l to
                                                                                                                                                               rhedlnyfdln Dd ffi M.d
  5€.nd      I I or I
                      .(dJ or rh.  s(ur.( L\clHs. Ac' of ,914 Td n rcqdinr                                                                                I.                                                     in   dr fftFing     Fttu, d..le dd I
                                                                                                                                                          lMw       i    om.d rh. perilioF rb:l Ih{ o. nhel nry prsed dd.r chl't t ?, I I,
                                                                                                                                                          12.   *       l3 oldle I I, Uiikn Sbk Cod., dd lEi. dDlaindd rh. reliel


  n     E$ihn A n alehed snd,mdc                    a   Dd olrhn pdnbn




  DGs !E dcbre o*n      e hr€ D.i*sid ofdy propeny rid pGs n is:ll{cd                                                           ro   Do* r tn@                      ofifrm'rd ad             n   offiad. I'lm    ro Flblic     ha$ 6 sf.ly?
  E     Y.s,   sd Ekhibi c is ,hahcd md m.ld r p€d ofthis e€brim.
  Em

  (lb b. @plded         by   eery indiviiul             &hd         If .   jd         pd'rim            tild,     ah +os Bd mpl.re                                      and   do.tr a s.DuL €xnibil D )
                                                                                                   's
  E     Erhrbtr rJ   cmpld.d       ard eEFd by dE               &&n;:(*hed.nd                             nud€, p.d ofrfi's                    p.r[d

  n     tr\nibn   D.l$.mdd.d            ald    ngtd            by   ih.iod           &td n @h.d,.d                       mrn             pd of$is p.ttim
                                                                                                                                     '
                                                                                                             lilod.don Rodi!. ih. D.bbr - v.rr.
                                                                                                                         (Chcc*                 y    lDpliqbk boi )

        E l$u          ha3   b€'   don'cilcd        s     h,s h3d          a   6id.k,             prmip.l       pr*      ofbrinGs,                   or   Fifipal         .5*         in   $n Ds;d atr rto d.)r mn dtd.ly
               pGc.diiu thc    date   ofthk pdirim or for . lmgs                             pd     or swh        I   ao days   rhe                  .try orhd Disicr
                                                                                                                                               'tr


        E tt'o.;        r U.nl'wry           ce cemin*                     drbrd! aflniac, s.ncnl DdG. q                                  !{ftrsl               p   Fndins       in   rhis   Oi*ir

        E      Dcbrd   r.    dchft       lix.is! pcddns aid hT ib pn*ipal pl*. ofhsi*s or FiMipal lls in rh. tjnitdd ga.s in rhis D*icr. e
                                      in a

               or h6 no pnmDal        pla. ofhEff$ or as.ts in thc Unn.d Saes blt as a d.f.ia.r in e adim 6 p.*€.djnc I'n a f.d.El q {d. lMl
                                                                                                                                                                                                                                      'n
               $nDisri.t,qdEi rccnsof rhcpahcswllbcs\rditrregedtorh.rclrfeu{htindisDshcr

                                                                               c.nifieiio!              hy   . I}btar wh. R6ids .i .                                    Tdr.     of    n6u6&l          PDp.rfy
                                                                                                                         (Ch.rt          all    $tlsbk                  boss.)

        E      L.'dl-d h^.J"d!"tu                              rh.   &td             for   posii,            of   d.t ols r6id.m. (lf bor cbc.t.d. @plde                                          tftc tollo$ in8 )
                                               "r,id
                                                                                                                                         (Nd.oll                    dld-d     rhar obr'in.d       jDdstuno



                                                                                                                                         (Ad,lrcs of lrndlo.d)


        E      Debrtr rllms tbar udn.pplrcible mnbanloprcy laq                                           li.r.    @ circumslres                       u&r *hici             rhc dehtr *ould h. p.min.d                ro curc   dF
               .diE ndcb.y d.fluh thd                   !:!!    ns h           thc   ludg*d tu pos56id. dtr                              di.         jud!ffir            nr pGssion sa dr.r.d. rn

        E      rkbrs   har iiclud".d   r     rhis   pd'rd           rhc    &pos(           *'l[   rh. @un         of y rd            dd ednd be@ dE d'niq rh. J0Jay Fiad ans                                             i'.

        E      n nd cdif6 Ita nJsb. h5                        sd d. !{d}nd                        sjrh   rhis.dfdid.                     o r         usc {162(r)
                        Case 14-28869                                Doc 1           Filed 08/06/14 Entered 08/06/14 14:01:06                                                               Desc Main
                                                                                       Document     Page 3 of 29
Bl (Otficirl Forn I)(0{13)
                                                                                                                  N@otD.br<t: tffiG@*sil
    Gnis     @                 b. ompldrd 4d filei         in   .Ery   c&)
                        'nun
                                                                                                              Signatur€

                                                                                                                                                   Sisr.tor       of   . hEiln R.pEdnv.
                        slt.rsR(t orD.6b(r) (lndivi.lur!Joi.r)
     I   d€lde und6            p€n:1ry    ofp.tEv   rhar rt€    tnf(lmrid piotildd         in ihn   p.l'lim         I&.lrr udd pen ltt ofFjlry dd rti nfdmtin po\ikd in 6as p.linq
                                                                                                                     rtu d dftd, rhn I m rhc foEisn EF€drd'€ ofa d.bror ii a fo.isn
                                                                                                                    is
     IlaFtriffi is d                 $lb$ &tG rc FinEly cM
                                     tndnrdual                      d€lt aid has                                    Fec.ding !d dEr I m adhdiz.d ro fib fik Ddnim
     .lb*n b ft                         I m .eG dEr I Gy p(B:.d 6d.i cirpi.r 7,
                           uder Ch.!i.r 7i
     I l. I z or I I ofad. I I, Uniled sbres cod., udGhrl rie Eli.fr€ilrblc rdd
     .*i sh clEprd, ..ddme ro p.e.d udd .l'4rF 7                                                                   E      I   E{6r   ElielD       esd.f,c }ib            ch.Dr6 tJ   oftilk I l. U      r€i   Sd6
     lllno    anomcy           ..pr6enc nc ed no brnklTt.y p.rdon preprE signs th.
                                                                                                                          C'ode Ccdifrcd copies ofthe             ddu'knb rcqun         d   E $ l5l5    oftnlc I I
     Fiirimj        I   h.!c    6b!!k! !d Eld !B Me E{!r.n b} I 3,1:(b) 01l}.


     I   r{d ch.rF aa.drE *in                        dE   .isd             nlk I L Udr.d   \rb      Cod.
                                                                                                                   E PnMrroI lJlI of rirlo I r. unired shres code,I rcqE rlkfin*corddcc
                                                                      of
                                                                                                                     *d rh€ .h4rd oftnL l I $e.itud in lbn pdii@ ditu copy oflh.
     ,^,na, otl" pon.n ,l //                                                                                              dder smhns @olntion of th. lor.isr                   Dir Dr€cdine E .tu.lEd


                                                                                                                         (Sisdc       of   Fd.i$ R.!(.s.divc)


                                                                                                                         (Pni!.d   Nd       of    Fffigr R.plEffrri*)
           r./.piv'E Nmb.r ( lI rot @r.r(.d                     by   !(me)


                                                                                                                                    SirdtFNeAtudr B$lnpi.r Pd in PnptEr
                                                                                                                                                   or

                                                                                                                   I &.|drc ddd p€nihy ofpnjury thal: ( ) I n r b,nlnploy p.riridi prerdr.r
                                                                                                                                                                         I

                                                                                                                   6dcliEd,n ll U SC I I0: (2) I prep .i rbis &{@d nx @pcMion
                                                                                                                   ad h.E prowt€d nE d6tor *dh a cogt oartu d..llmi .d ti. mric .nd
                                                                                                                   inrohand            undd I I U s c. I l0(b), I r0{rr), dd 342(bl: ed (r) ir
           Pinr.d       Nft ofAff@'              fd Deuont                                                                     'cquned
                                                                                                                   tuLs or sni&liB lEt! b€.n p.m'll!d.d p.ll:trr b II U 5c I lqh) dtine
                                                                                                                   a naimu tu id $Ms ch{Bc.bt by bsnldpr.y pelrior plepd6, I ha\€

                                                                                                                   si!6 rhe ilehd di.c of rhe mitom dMr bGfR pEpIiry dy d(wit
                                                                                                                   rq liling fc r rha e N.DtuU dy f€ tm in &hn araNir.d in d


                                                                                                                         hded Nm.          and !r1.,    tf.ny, of      Rnklprt trHiid tt.rdr6

                                                                                                                   sauj s.mr! nDb.. llrriE bdh,licy p.rdrd FrpG                                 6    d s ndlddl,
                                                                                                                   she de      sci.l seunB n@hs         olfiea pnrcDii, rcsponsiblc tssn o.
                                                                                                                                                             of rh.
                        'il      At I        )4i,4                                                                 poiF       ofrh. ba.Lrprct !.!1M trep.k lR.{uired by I I U.S C ! I l0 )


'   ln a   @    in $h,ch         ,   707(6X.1lD) ,pphci fiis si[EtuG ale cmeides                  r
eni6cahon rhd rh. aionEy h6                    no kslqls. .n{ d mqun} rh{ lne                   infmriq

               si!,rbE.,               D.bior    (Cor9.Eria/Prrii.alio

    Id..lecsd.rFarllvorDctuO                         ia F romdioFu                  al inrh;
    pd'Iid     a!   rto. and         r.fu,   and rhd I   h2!. bdr aurhdiad         b lil. fin
    p.nio      otr      bchdtof th. dehd

    l1'c dehd E{ue* Eliefin ?ssd:nc. rnh rld chaprd ofrirlc I I,
    Unir.i Starcs Codr. speifiri in this D.brion                                                                   sis:srG or Banrrupl.y Pehrcn Pftraftr or omF. pn!rciprl. G|,onsblc
                                                                                                                   p.rs. d patu *ho* sel srity         nmb.r b tosdcd abo$

                                                                                                                   Ndts rd S6ial           SFUniy nuDb6 ol dll oinq rndilduals                  ilho
         Sisnatft orAuduiz.d lndivid@l                                                                             p..pditd o'     ,sistJ    tn   pFFni!     rhn da      umt ulN rlr b€nlipro p.trro

         hm.d       N      e   ol     udm4d lnd;dDr                                                                Ial]h $ai * t ls             Feprftd dis            dillld, dhn .ddjii@l slds
                                                                                                                   coifodnin! b      the   appropri{. ofrciai          fm ttr ca.i p.&n.
                                                                                                                   A bdrrurrq_       pdnid F.Dr.re ralG                 ro   spry   *irh th.   Fovii6
                                                                                                                   oftirle I Lnd     $. r.d.sl                                  nddw                 rn'lt
     -                                                                                                             in   fi6 d @isiffi
                                                                                                                                                    Rul.s of Bd*tupr.y
                                                                                                                                                    d bdh    ll    U   SC { ll0.l3U sC { !56
                                                                                                                                                                                               nat
           Case 14-28869             Doc 1
B ID (Ofiici.l Form l, [xhibitD){1209)
                                                Filed 08/06/14 Entered 08/06/14 14:01:06             Desc Main
                                                  Document     Page 4 of 29




                                   TJNITED STATES BANKRUPTCY COURT
                                         Northern Dfutrict of Illinois, Eastern Division

In R!:
                                                                                                ('flno$r)

                  EXIIIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCI] WITH
                                           CREDIT COUNSELING R.EQUIRJMENT


                   Wanring: You must be abl€ to check truthfully ode olthe five statements r€garding
            cEdil coun$ling listed below.Ifyou cennot do so, you arc not eligible to lile a bankruptcy
            csse, rnd th€ courr can dismiss eny case you do lile. lfthat happens, you will lose whatever
            filing fee you paid, and your creditors will be able to r€sume collection aclivitics against
            you. Ifyour casc is dismissed atrd you file anolher bankruptcy case lrter, you mry be
            rcquircd to pry a second liling fee snd you may hrve lo l.ke extre steps to stop crrditors'
            collection ectiviti$.


                  Every individual dcbtor must filc this Exhibit D, Ifajoint pelhion is filed, cach spousc
            must complete and file a separate Exhibit D. Check one oflhc five stalernents below and allach
            any documents as directed.


              I     l. within lhe lE0 days before thc filing ofmy bankruptcy case. I received   a briefing
            from a credit counseling agency approved by the United States trustee or bankruptcy
            administrator that outlined the opportunities for available credit counseling and assisted me in
            performing a rclaled budget analysis. and I have a certificate from the agency describing the
            services providcd to me. Attach a copy ofthe certificate and a copy ofany debt repayment plan
            devcloped thiough the agency-


             !    2. Within rhe I80 days before the filing of my bankuptcy case. I received a briefing
           from a credit counseling agency approved by the United Statcs trustee or bankruptcy
           administrator lhat outlined the opportunities for availabie crcdit counseling and assisted rne in
           performing a rclaled budget analysis. but I do not have a ccnificate from the agency describing
           the services provided to me. You must file a copy ofa certificate from the agency describing the
           services providcd to you and a copy ofany debt repayment plan developed through the agency
           no later than i4 days after your bankruptcy case is filed.
           Case 14-28869              Doc 1    Filed 08/06/14 Entered 08/06/14 14:01:06                 Desc Main
B lD {Offi.i.l Forn l,   [rh. DX1209)-conl.      Document     Page 5 of 29



               E    3. I certi8, that I requested credit counseling services from an approved agency but was
             unable lo obtain the services during lhe five days from lhe time I made my request, and the
             following exigent circumstances medt a temporary waiver ofthe credit counseling requirement
             so I can file my bankruptcy case now. lsummarize exigent circumstances here.]


                   If your certilicstion is satisf.ctory to the court' you must saill obada the c.tdia
             counseling briefing within the lirst 30 after you lile yolrr bankruptcy petition and
             pmmptly lile r certificate from the agercy thrt pmvided the couNeliDg' logether with a
             copy of sny debt Danagement pl.n developed lhrough the ageDcy. FailuE to fulfill th€se
             rcquircme[ts mry ra*ult iD dismissal of your crse, Any exleDsion of the 3Hay deadline
             can be granted only for csuse strd is limia€d to t marim m of 15 days. Yonr cffe mry tlso
             be dismissed if tbe court is not sstislied witb your rcasons for filing your bsnkiuptcy case
             without first ieceivi[g a crcdit counseling briefing.

              E    4. I am not required to rcceive a credit counseling briefing because of: [check the
             applicable statement.l[Must be accompanied by a motion for determination by the coutt.]

                            E     Incapaciry lDefined in I I U.S.C. $ 109(h)(4) as impaired by reason ofmental
                            illness or mental deficiency so as to be incapable ofrealizing and making ralional
                            decisions with respect to financial responsibilities.);

                            I     Disability. (Defined in I I U.S.C. $ 109(hX4) as physically impaired to the
                            extent ofbeing unable, after reasonable efrort, to participate in a credit counseling
                            briefing in person. by telephone, or through the Intemet.)i

                            !    Active military duty in a military combat zone.


              I   5. The United States trustee or bankruptcy administrator has determined that the credit
            counseling requirenent of I I U.S.C. S 109(h) does not apply in this district.


            I certify udder penalay of perjury th.t the ilformation pruvided above is lrue add
            cotrect.




             Signature ofDebtor

             Date:
            Case 14-28869                 Doc 1         Filed 08/06/14 Entered 08/06/14 14:01:06                             Desc Main
86   SuDnlry (On.id Forn      6 -   SuDd.ry) (l2rl3)
                                                          Document     Page 6 of 29




                                         UMTED STATES BAI\KRUPTCY COURT
                                             North€ro District of lllinois, E.stern Division

                                                                                     Case   No.
                                       D.bto.                                                                          (irknown)

                                                                                     Chaprcr                                7




                                                          SUMMARY OF SCIIEDULES

             .
lf,dicate ar ro   h schedulo stErhcr Il.t.r schedulc k anehed ed narc {E nunb.r ofp.lEs h erch Report Inc lolals lion s.h.dules A a. a E.     F,   I,
a.d J in oc boxes providcd. Add the mounG rion schedul€s A and B lo d!rcmine ine ro$l mount of the debtois 6*ts. Add ihe uounh ofall
cl.iN  fm     S.h.dul6 D. E. dd I ro dermi.e rhe toral atlrMr of lne dcbrols lilbilitic. Individu.l &b1o6 nusl also complere lhe '$!risdc.l
suhha.y ofcenlin Liabiliti$ ed Relald tta6" iflhry file 6 ce lnder .ha9ter 7. I l. or 13.



            \AITf, 01'SCHEDT]Lf,                       ,{I-TACIIf,D   \O.   OF SHEE-IS            ASSEIS           I,IABILTTIES               OTHER
                                                         (YESAO)


                                                                               I                   $61,000,00




                                                                               5                    $6300.00




                                                                                                                       s46.217.60



li - Ccdjto6 lloldi.g   UnwuEd
                                                                              2                                               0.00



I - codiloB tloldiig    Unssured
                                                                              3                                        $36.538.28



c . Exccubry Contr&ts Md




                                                                                                                                                    3.725.1t



J-   Cucnl ExpcndiluB of
                                                                                                                                                    3.7?011


                                                 'roTAt
                                                                                     t8            s67 400.00          s82.?75.88
                      Case 14-28869                             Doc 1         Filed 08/06/14 Entered 08/06/14 14:01:06                                 Desc Main
Foro      6 -   Strlisti.tl Sunmlry             (   l2113)
                                                                                Document     Page 7 of 29




                                                              UNITED STATES BANKRUPTCY COURT
                                                                     Northem District of lllinois, Eastern Division

                                                                                                              CaseNo.
                                                                                                                                                (itknom)

                                                                                                              Chapr.'r                             1




                     STATISTICAL SUMMARY OF Cf,RTAIN LIABILITIf,S AI\D RELATED DATA (28 U.S.C. $ 159)

          lftoud.anindiYidu.ldcbtorsnosed.blsdep.inarilvconsumerdebts.ddefinedin$l0l(8)ollheBdkruptcvCode(llUSC
$   l0l(8)).        iliig   a   c6e underciapler 7. I I o.13. vou nusl tepon allinlomation reqoestcd bclow'

                I     Cieck rhn bo\       if]   ou    d      an individual dchlor $hose dobls   @ NO I pndarilv consuner debts You de nol Equired io repon Mv


Thisinfornltiorisforstllilticslpurpossonlvrnder2Sti.S.C                                  S 159.


Snmnrize rnc follo*ins typcs oflirbilnies. rs r.porred in th. Sch.dules,rnd totrl ihen




Doncstic Suppon Obligalions (fiom Scbedule E)
'rd.s md Cenlin    Olher Debls Osed lo covcsnental Units
 (tionr Schedulc EXryhelher dispulcd or undisPuted)

Claims tb! Dea{r or Psond lniurv While D.biot Wa
lilo\icatcd (fron schedule E)({hethet dirpuledoi undisputed)

 Stude.r Lom Oblisations                (f!on       Schedule r )

 Dodestic Supl'on. sepdaion Agrede.(                             dd   Dirorce D.crN
 oblisalions Not ReDoncd on schedule E

 Obligarions lo l'eNion oi Prolil-Sh&ing. and Other                       Sinilar
 oblisarions (non schedule I')

                                                                                                TOTAI




 Arerage lncome (Iiom Schcdulct Line                           l2)                                                 3.725 3

 ,Avenlge           E\pcn*s (lion SchcduleJ, Line22)                                                               3.1202

 Curent Monftly lncone (fron                        l:om 22ALinc 12: OR. Fom
 228l-ino ll: OR. Fom 22C Line20)                                                                                  5.tIlt2



    I lor.! liomichedtrle D. "UNSECURID PORTION.IF
    ANY"COLLIMN

    2. Tou!     fton Schedulc F. "AMOUNT ENTIIIED TO


    I   tbral   fron    Schedule      E. 'AMOUNI NOT ENTITLED lO
    PRloRll Y II                NY'column.

                                                                                                                                     $36.5382r

    5. Tolal of non.Driorirr_ unsecued dcbl                   isun of l. 3, od 4)                                                    $365382t
               Case 14-28869                        Doc 1      Filed 08/06/14 Entered 08/06/14 14:01:06                                               Desc Main
Of,-ri.l Fom       5A (t2O7)
                                                                 Document     Page 8 of 29
ln Re:                                                                                                   Cas. No.
                                                                                                                                                 (ifkno*n)



                                                               SCIIf,DI'LE A. REAL PROPERTY
           s di@tcd bdw.list !x tlal preFny in shich t[. &bld hd ay legrl, cquiLllc. or tutuE i e6( iftludbg rll plopdtv oM.d 6 a co_
        Ex.cpr
   rnarr, cmuniry  pnFrly, o. in $rtch thc.lebb. ha a lif.dL. I'Elu& ery Pt!9cnv in tltct ll1. &hd hol.b riel s &d pos,€rs cxcai.blc fq
   1h.d.blolsomb!n.fit'Ifthc&blorhMied'str|.{,hedgh$b44wifc.olbo6o*'ihcPrcP.'tybyplicinge'H'.,
   @l!m hbel.d'Husbmd. wif.. Joi orConmunily". lf Oc d.btor hol& no intGl in El popcnv, q e 'Nonc' dd.t 'Dddidion llld rsalid


        Do    mt h.tud!    ht.Ei6       in   Gi.c$ort .otrl[cll rld !fttplr.d 1.f..        on    thk   .ct.drl., Lkt ih.D   ltr   S.t!dd.   G-   Er.cutory Co.tnctt .trd



        tf   .r atty   clains ro hlre   !               sded i.t6! in ey proFrty, sarc tlE mou ofrh. ssued clsin. Se Soh.dllc D
                                             li.n o. hold r                                                                                               lfe   6liIy cl.in3
   10    hold a   seur.d inlcF* in      rhc   pbpdly. wite 'Ndc' h rI€ @lumn labelcd 'Amoont of Sc!@d Cllin'

        If th. dcbror is an indivitual or if a joint p.lriion is nbd. s1ai. lh.             of   Dy d.nprion cl.in.d    in the pFPeilv       o   v in Scledub C - P@peny
                                                                                  ''r|Nl




                                                                                                              >=
                                                                                                              JE
                                                                                                              SE    Property Witholt
                                                                                                              -6Q   Hllctirg        Any Seur.d
                                                                                                                    Claim or Exemplion                    S.curcd Claim
Descripdon and Localion of Property

Sinele funily home                                                                                             D                             61000.00                          45237.60
9846 S. Escanaba Alenue
Chicngo,IL606l7




                                                                                                            Tolal                           s6!.0{10.00
             Case 14-28869
Omcl.! Fom 68 (120?)
                                          Doc 1       Filed 08/06/14 Entered 08/06/14 14:01:06                                Desc Main
                                                        Document     Page 9 of 29
ln Re:
                                     Deblor



                                                   SCHEDULE B . PtrRSONAL PROPERTY
    Exepr a dircc&d bclow.lhl all peno.al propeny ol thc dcbto. of whalevcr kind lffie deblor hs no prcper9.. in one or noE oflhe cat€gories,
  phce  ar'X'in fic apprcpriate losilion in thecolutrn l.beled'Non€'.Iladdilional space is needed in y catcgory. ai.cn a sepeate snel Pope y
  idendn€d wih lbe sme cs nane, case nunbd. dd rhe numb$ ofrhe cacgory ltlhe debtor is nariied. sldle sh€Iner husb&d, wife, or bolh oM rhe
  Dbpcny byDlacine an "H'. "W". "1", or "C" i. the colunn labehd "H6bod- Wife, Joint o. Conhunilt'. Iflhe debior is an individual or ajoini
  p€tirio. n filed. stalc lhe mount ofey exdptions claimcd oniy in Schedule C - Propeny clained 6 Etempl.

    Do not Iisr   in&rclt! tu er.rdory conir.cs rtrd uderDired l.r!$ o! lhis lchrdulr Lilt ih.n in S.h.dol. C - Er..utory Co r&&      !.d

  lffic poperty is bei.g held for lhe dcblor by son@ne else. slale the person s mme dd addEss unds "Dscriplion and Lrcltiq of ProFry"
  Iflhe poperty is b€ing held for a ninor child, simply stat lne child's i.itials ftd the name 3nd addte$ otlhe child\ pm or guddi4, such 6
  'A 8.. a ninorchild- byJohn Dft. gu di&. ' Do .ot disclGe the child! nme. Sec. I I USC li II2 &d Fed. R. Bsnkr P 1007(m).




                                                                                                                    ;E
                                                                                                                    EiE
                                                                                                                          DeduclingAny Ssured
'l)pc of Prope.ly                                               Des$ipiion md Localion of Propeny

                                                                $50.00                                               D                           50 00




2. Chccking.  savings or olher fhancial                         Fist   SavinSs   Bmk oftleg.sisch. checbng           t)                         500.00
accouirs.   cD\. or shdes in banks. salings
and loan.lhrift. building od loin. dnd
homestead associalions. or credil unions,
broke.age houses or coopealilcs.


3. Secu.ily derosits silhpublic ulilities.                x
telephone companies. lmdlords.      dd   olhers.




4. Ilousehold  goods and fumishines. nrcluding                                                                       D                          200.00
audio. video. and computer e'tuipnenL
    OflLLl F.m
               Case 14-28869                 Doc 1        Filed 08/06/14 Entered 08/06/14 14:01:06         Desc Main
                58   02{7)                                 Document     Page 10 of 29
    In Re:                        Jarncs Crzeskowiak                             Crse No.
                                                                                                       (ifknown)




                                                                                                   >!    Det{ods lnlerest iD
                                                                                                   i€
                                                                                                    5E   Propcity Winrcui
                                                                                                         Dedu€ling Ary Secur€d
    TlTe ofPmpffty                                          None Dcscridior and Locdon ofPropeny         Clain or Ex€mplion

    5. Book! picturcs and olher art objecrs                  x
    arltiqucs, stamp, coic record, trpc, conpacl
    di$, and othct colleclions or coll$tiblcs.




                                                                 Cloth€s                           D                             100.00




                                                             x




E. Fir€ams and Aorls, photographic. and                      x
odler hobby €quipm€nl.




9. htcresrs in in$.anocpolicies. N{me                        x
inglllnce mnpany ofcach policy and ilcmize
sunend€r or r€fund value ofeach.




10.   Annuiti6 llenize ed     .,ft @h isd.                   x




I   L hl.rests in at education IRA as d€fin€d in            x
26 U.S.C. $ 530(bX      or und€r a qualified SIate
                       I)
tuftion pbn a5 dcli'r€d in 26 U.S.C- S 529(bxl).
Cive particula$.



12. Inl€rcsl   in IRA, ERISA Keogb or other                 x
p€nsion or     pmft shaing   pl   s.   Give paniculars.
              Case 14-28869              Doc 1     Filed 08/06/14 Entered 08/06/14 14:01:06            Desc Main
Oftcid Fotts   68 (1207)
                                                    Document     Page 11 of 29

                                                                                                  (irknom)


                                                                                              s
                                                                                              cz
                                                                                              -a
                                                                                              rE
                                                                                                    DedudineAny Secured
                                                         Desc.iptionlndLocation of Prop€rty         Claim or Eremplion
T)"e ofProperry
13. Stock and interests   in inmrporaled and         x
unin orporaled business€s. Ilemizc.




14. Irterests in   padnershiF   orjdnl               x




15. Govmment and coQont€ bonds and orher             x
negoliablesdnon-negotiableinslrumenls.




16.   Accounts re.€ivable.                           x




i 7. Alimony, mainlenarce, suppo.! and               x
prop€.ty set lements lo which lh€ debtor is or
may be €ntirl€d. Give paniculaE.




 18. other liquidoted debts owirg debtor             x
includins lax retunds. Give psrticula$.




19. Equiiable or fulu.e interesl life estales, d     x
riehts or powers exercisable for th€ benefil of
the debto. other than ilose lisled h Schedule A




20. Contingent dd noncontingent      i
                                   trests in         x
ieal e$ale ofa decendent death benefit pl4,
life insurnnce policy, or trost.
              Case 14-28869             Doc 1        Filed 08/06/14 Entered 08/06/14 14:01:06                 Desc Main
ofli.irl Fo.n 68 O20?)
                                                      Document     Page 12 of 29
                                                                                Cas€   No.
                                                                                                         (irknown)




                                                                                                     &,2
                                                                                                     tE
                                                                                                     riE
                                                                                                     5E
                                                                                                           Deducring Any Secured
                                                           Descriplion   dd   Locadon ofProperry           Cla;m or Exenpiion
T)Te ofPropeny

2l . Other conlingent or unliquidaled claims   of      X
every natnre. including 1ax refunds. counier_
claims ofthe debtor, and riShts to setotrclaims
Give estinated value of each.



22. Patents, cop)riglts, and olher intellectual        x
properiy. Give Parliculars.




23- Licenses, franchiss. and olher SeneEl              x
inragibles. Giv€paniculars.




24. Customer   li$s or ofter compilalions conlain'     x
ing personally identifiabl€ information provided
ro the debtor by jndividuals in connection with
obieidinS a pmducl or sdi@ fton the debtor Pri-
marily fo. personal. fam'ly, or household purPo*s.


25.   Autoinobiles trucks hailers, ard other               2001 HondaAccord 2005 Dodg€       Ceavd   D                             5550.00
vehicles and accessories.




25. Boats. molon- and accessonB.                       x




27 Ancmft dd accessories.                              x




28. Ofiice equipmeni. ftmishings. and supplies-        x
              Case  14-28869          Doc 1    Filed 08/06/14 Entered 08/06/14 14:01:06              Desc Main
Olfict.l ForD 68(12107)
                                                Document     Page 13 of 29
In   Re:                    J'nes Gneskowirk                           Casc   No.
                                                                                              (ifkno"''r)




                                                                                            >t
                                                                                            5F
                                                                                            5,.   Deduclins Any Secured
                                                      Descriptionand Locntion of Properry         Claim or Exemption
Tn€ ofProperry
29. Machinery fixtures. equipmen! and            X
supplies us€d in business.




                                                 x




                                                 x




32. Crops -   Fowjng or hawested. Give           x




33. Faming equipment atd implements.             x




34.   Fam supplies, chemicah. atd feed.          X




35. Olher personal propeny ofany kind not         x
already listed. Itemize.
                   Case 14-28869             Doc 1      Filed 08/06/14 Entered 08/06/14 14:01:06                               Desc Main
B5c     (offi.i.l IorD   6C) (lH/13)                     Document     Page 14 of 29
In    Re:                         James   Gz€sko\tiak                               Cr$ No.
                                                                                                                      (if holrn)




                                           SCHEDULE C . PROPERTY CLAIMED AS EXEMPT

Dcblorclsins rhe exempiioc lo stichdobbr is entitled    u.d€r:                  D   Check   ifd.btor claims a hotEstead €xmplid fial qeeds
lchect   one   box)                                                                 J155,6?5.'

fl     lr u.s.c.   s 522(bX2)
E] ll    u.s c. s 522(bX3)




                                                            Specit Law Providing
 Des.ription of ProPerty                                    Each Exemption                       Exemption                     Deducling Exeinption

                                                            715-5112-901                                          \4762.40                      61000.00
     Single family home
     9846 S. [sctnaba Avflue
     Chicago,IL606l7



                                                             735-5/12-1001(b)                                         50_00                               50.00
     $50.00




                                                                                                                     500,00                           50000
     First Savings Bank ofHesewisch, checking                735-5/12-r001(b)




                                                                                                                     200.00                           200.00
                                                             735"5/12-1001(b)




                                                                                                                      100.00                          !   00.00
                                                             715-5/12-100r(b)
          Case 14-28869          Doc 1   Filed 08/06/14 Entered 08/06/14 14:01:06     Desc Main
!6c (Om.i.l Forn   6C) (0413)             Document     Page 15 of 29
                                                                    Case   No.
In Re:
                                                                                 (ifkno$n)




                                            Sp€cify law Providins
                                            Each Exemption
                                            735-5/ l2-t 001(c),
 2001 Honda Accord, 2005 Dodge Caravan
                                            735-5/12-1001(b)
('ll.i.|      Case 14-28869
            Foru 6D
                                              Doc 1       Filed 08/06/14 Entered 08/06/14 14:01:06                                 Desc Main
                       {12,1,7)
                                                           Document     Page 16 of 29
 In Re:                                                                                           Casc No.
                                           D.bior



                                      SCHEDULE D - CR.EDITORS HOLDING SECURED CLAIMS
       Slalc thc nm. naili.g add6s. includingzip cod.. &d          lai   four digits   oley e@ur numbd ofall enliri6 holding ctaiins securd by
  piope yoflhcdeblor6ollhedateollhclllingoffiepdnion.                  Th. complcl€     acco! nunba ofey &count fie debld h6 si$ thc.Ednoris uFful
               ed &q cr.dild 4d na) bd prflidcd if rl'c dcbror ch@s to do so. Lisr cr€dirors hotdin8 aU rypes ol s*@d inlg€sls such
  to thc lruster                                                                                                                       s
  judemem lims, eanishnenb. stslurory li.ns. mongags. deds ofrfu! ud olhr kcu.irl inrrc$s.
        LH ccdilou in alphrbcliol order to fie €xleni practicablc. ll a minor chitd is ! ccdiro( sllre ll)c child,s ioitiah &d rbe nme lnd
  add6s ollhc childS pdent or guedi&. such 6'A R.. a mjndchild. by rohn Dc. gusdi.tr'Do nol distce rh. cbild! n@ Se. I I U.S.C. g I t2
                            f                                      f
  adFel.R tlmk 1007(m) lf.ll s!red cediloG will not on lhis pagc. u* thc                      6
                                                                                              inuarion sher plovided.
                €
        lruy ity othd thm a spous. in ajoinr casc nsr bejoindy lilbtr o. a ctaitn, ptac             e 'x'
                                                                                                      in Oc column trbeted 'codcbrd', incrrd. l|ie
  eoli! on the approprislc khedul. ofctednos- fld coftplele Schedul€ ll - Codcbro.s lfsjoi.l petition is rlled. srare *hdhs husbed. *itc.
  txnh ofrhen. orlhc hdilnl conmurity nay be liable on €eh clain bt placine d'H,.'W'.'J,.                 r
                                                                                                        "C'inthcotuntr labeted "ltusbod. Wifr.
          lfln€ chin   is   conlinee( plm d "X" in thc @lunn labcled "Cofiinsdt'. If rh. claim is untiquidded. pluc d "X" in $. otum.
  labeled   "Unliquid4cd      " lflne chin is dispulc( Dlace e "X" in thc column laleled 'Disputcdri. (You may ned to place e "X" in moethanoncof
        'lolalrh. @lunns lab€led "Amounr or'Clain Wiihoui t)cducling Value ofcollatmt,, ud .UnFcuBd ponion. ifAny,'in $e boxcs
  hbcled 'Total6)" m $c ld shcrt of rhe conpler.d schcdul.. Repon d'e robl from ihe cohm tab.t€d 'An@nt ofct.in wnhor Dcducrine v6lue
  ol collftral llso on rhc Sunnary oi scheduhs sd. il rhe dcbror         is
                                                                      individual *irh p n&ily co.suns debls, rcpon Oe bral tiom thc c;tuhn
  l.belcd "U.$cured Portion. if^nt" Dn thc $arisricd Summa.y ofccnain Lilbitiri6 d Relarcd Dala.


             El     check 1nh box if dchror   hs no.rcdibn nolding     secued ctains    b rporl   on lhis Schedde D.




                                                                        Dare Claim     sd   lncuncd
                                                                        Nalu.c ofl-ien. and Description
Crcditor's Namc .nd Mailing Add.'",s                                                                                   Dtducling
                                                                        Subj€ct to l.icn
Accounl Numbe.: 0l-22001025                                             tz/r3t2002
FiBt Salinas    llmt lteaNi*h                                           Monga€e
13220 Asltimore A!cnuo                                                  Sinsl. family home
Chicaao. lI-60633

                                                                       vALtJt    $                 61.000.00




                                                                       VALUI' $




      0      continualion sheet lllach.d
              Case 14-28869                        Doc 1            Filed 08/06/14 Entered 08/06/14 14:01:06                                                             Desc Main
B6t @m.i.l Fotu 6E XIX/IJ)
                                                                     Document     Page 17 of 29
In Rc:                                                                                                              Crsc No.
                                             Ihbtor                                                                                                              (irtno$n)



                       SCHEDULE E . CREDITORS HOLDINC UNSECURED PRIORITY CLAIMS
        Aonpldre lisr ofclaim cnlitled to pnoriry.lisled scpdtely by Itlc ofpdorily k ro b.                                      *t
                                                                                                      to.th m the shcls p@id€d. Only holdcG of
    unsecur.d claif,s.niirled to triority lhould be listed i. rhit scnedulc. ln $c boxes provided on ilr ltt&hcd sh€crr. iate the nme. mriling addrcss.
    inclding 2ip codc. md 16r fou digirs ofthe eounl number. if dy. ot all                           stilie
                                                                                          holding piorilt claims against the deblor or the poperry oflh€
    dcbror. 6 ofrhe datc ofthe ,iliig oflhir p.lilion               ll*
                                                            ! *puare qlinualion sheel for @h O?c ofpriorny and label4h $irh lhe qle ofpricily.

            The   @mplet accounr nunb.r ol ,'y a@ou $e dchtor ha with the cedild h uselullolie losle. sd tie crcditor ud rn.y bc pmrlded if lhe
    dcbror    ch(Fs      ro do e- lf. mintr child ir a crcdilo( nar O. child 5 inni.b ad dE nlrre od addK of$e childb plmt d erddian. slch ss
    'A 8..    a   flinorchild. by John Dor, guardid'Do nol disclos lhe childl nane See. I I U.S C. g l12 ed Fcd R. Buk' P 1001m).

         Il oy .nrirr_ othcr Od . stN* in a.joint cN nay b.joinlly liable on ! clain- pls s 'X' in the @lum labclcd 'Codcbrol. include $c
    cnirt on the appropriac scl&dule of ci.dno*. dd dplctc Schedol. H{orLb!o6. llajoant p.1nio. as {il.(t' slar *hdn.r huband. wiG. hoth
    offien, or the meilal conmuf,ity nuy bc litbld on *ch claid by plicing e "H'. "W'.'J". or'C'in lhe column hbeled "Husbed. Wfe,Joint. or
    ConBu.ny' Ifrhc clain is conii.g.nl- plc e X" in dr @lutun labeled 'Contingdl'. lflhc clain n lnliquidltd. 9l&c m "X if, lhe @lumn
    label€d    'tjnliquidlrLd'. Iffic claim     is dispuLd.     pl@       e 'X'   in rhe   coluin lrb.lerl "DisFn€d'. (You nay n€d lo plee                       d "x' in morc il@ o.c of

         R€Fin lh€ roral of clains liied on c&h sher in in. bor labelcd "Subroralt' on r4i shar. Rcpon thc lotal oadl claims                                           listed    o   this   ftfudule
    ltinrneboxlabclcd'lolal'onlheldrhetofthcootleiedsch.dule.Reponrhktdalalsoonrh€sunnaryofschedules.

          R.pon &e roral ofuounl' €.rirled b pdony lslcd on @h sh.ei in rhc box lab.l.d 'Subrotals" on @h sher. Repon rhe roi.l ofall mouf,G
    ontilled ro priority lirtcd on rhis Schcdlle E in rhe box labeled "lbtals" m the ldr sher ofhe oonpleled scheduh, lndividurl debto6 snh
    trindily consumc. deb1s sho 6le a c{s und( chlprr ? or l3 lcpon thislord aho on rhc sl$istical sunma4' ol Ccrrai. l.i.bililier lnd Rclatcd

    Rcpon $c bt6l ofdbu.rs not enrirled to prioily lisr€d on each shccr in Oc box bb{led "Subtotah" on cdch shcci. Repon $e $lal of all
                                                                          I
    uoums nol flritlcd ro pnoriry lasled on lnis Schcd'ne in fi€ box lab€l€d " rods" dn ln€ I6t she€l of lhc onplcr€d schcdole. lndiridual debtou
    $ nh pnndily conusn( dlbrs $ho lil. a c6e unds ch.prcr 7 Elon rnis rolsl ds on te Slalisricd Somha4 ofc€nain Liabilili6 and Rehlcd



     I       ch.cli lhir box ifdcblor h6      no   cediroB holdinS         un$crd pionq dsins                  to   EF   I   d   lhis schedulc   E


    TYPES OF PRTORITY                 CLAIMS                 {Chccl,lhc qproprialcbox(es) b€low                 irclaitu     in thal caregory d€ listcd on thc attachcd shcec)


     E       Do'n.stic Support Obligrtion3
    ClaiN lor dom$ric          suppon lhai   dc o$ed lo       or tuevda!|. bt ! spoB- fmF spole. o child oflhe d.blq. or lhc pa.il. leed Buddid.
    or    i.spoisible rclaivc ofslch    a   child. or   a   govenmfltdl unit 10 *hm slch s dmcslic suppon cbin hd bed driened to lhe erl6l provid.d in
    ll    U.s.C.   N   507(a)(l).


     -       Ert.nsiorc ofcr.dit insn irvolllntrry                  c8.
    Claims    {isitrg in    rhc ddirary .Ns of rhe dehbr\ businds or nn&cial aff.i6 atur lhe                             soM@cnl             of lhe   ce   bui   be   forc rhe   carlir of
    rhc lppoinlm€nl        ofa trustec or the ordcr for r.lica ll U.S C. $ 507(axl).


     D w.s6, 3.l.ri.s, !.d             omdissions
    \'ages. saldies. and codrissiotr. includi.g vlcdion. svenncc. {hd sick lcavc pay owing lo dmploye$ and comnissions owing lo qualirying
    ind€t€ndcm el6 tcpBntalir$ up ro Sl2-4't5. ter pe@n €Mcd $nhin 180 days inwdiacly precedi.g Oe IilinC ol the original petitoo. ot
    rhc   ess.lion of busin6s.      *hich**     oc.ured      !i6r   to   6c e$e.d provided      i.   I   I   U.S C. $ 507{a)(.1)


     fl     cortribuliotr3 to .nploy.. bcncfit plrns
    Mon€y o*ed b cmployee bdefir ples lin seryices rendeFd *ilhin 180 days innedi$ely pBsding $c nline ol th. oiginll prdion,                                                        or thc
    cdsrion ofbEincsr. $hichctcrccuftd finl.lo th6 cxt fi prorided in I I tJ.S C. | 50?(a)(5).
               Case 14-28869
      (Ofi.l.l Forn
                                                 Doc 1        Filed 08/06/14 Entered 08/06/14 14:01:06                                                    Desc Main
B6E                       6f,   )(orl3)                        Document     Page 18 of 29
ln Re:                               Jrnes Crzcskowia&                                                 Case No-
                                                                                                                                                 (ifkno\rn)




   D     C.rt h       f.m.r fid           fi.h.rm.n
  clains of cerbh larnEn snd fish€nnm. !p             ro S6.150.   Fr   fmd   of   lBhme,   reairsi rhp d€b1d,      6   p    i&di.II       U-s.c.    S   501.X6).

   E     Drpo.iils by hdividurb
  Clains of individuols up 10 $2.7?5. dcpcits for th€ pur.hrs€. INc, or mi8l ofpropdly o. sdic.s for pc6ond, ftmily, or houschold us,
  Od *tr. lDl &lisld q rbvid.d I I U.S.C. C 50?(rX7).

   E     Trl$      rndc.rtiin oth.r Dcblt owcd to Gov.rom. t lUritt
  Tacs"      cllslm dud.s, eld pdslri6 irc ro fcd.nl, sbrc. od led got@trFEl uirs 6 d                         font ir   Il   U,S.C    0   50?(.X8).


   E Col[dtnl.I& to M.lnt h th. Crpiul ofrll llsurcd D.poritory l.ltilrlioa
  Chims b.!.d s comnitnenc io thc FDIC, RTR, Direlor ofln€ Offic. of ftnft Sup.ryi.ion, ComDtolh. ofthe Cumcy, q BMd of
  cdm6 of lhe t..denl R.w. Systcn. or $cir pEdeceslo6 d success, to ft.jntain liit @piid of d inrurcd deposilory i$titu1id.                                         I   I
  U.s.c.550(aX9).

   E     Chiltrs for It rth or P.donrl Injury Whil. D.btor W.s                      Inio   crted
  Chims      fd   dealh n pcMnd injuy sulli.g liom fi. operlri@ ofa molq              vehicL   q v6el eiil.       ole d€6ro!   $6    inroric.red     liun 6ing
  al@hol, a dtu&       olltothd !ubstd@. I I U.s.C. $ 507(aX l0).




  . A'unrs        e   subj..r lo   adjl6rMr o[   04/01/16, lnd   dcry   tlr   ]!!rs th....id e     n   l!3Fcr b   .!s   omm€ned           on   d.n   rdE drL of




         0    c@tinulriotr shccs     ltr&lEd
 Ond.l Fom
             Case   14-28869
              6F(12^17)
                                              Doc 1             Filed 08/06/14 Entered 08/06/14 14:01:06                                  Desc Main
                                                                 Document     Page 19 of 29

                                                                                                                                    (ifhown)


                  SCIIEDULE              r    - CREDITORS                HOLDING TTNSECURED NONPRIORITY CLAIMS
     Stale ltrc nmc. msilingaddrcsr, including zip cone. dd ldt four digns oldny lccou nlmbei ofrll drirics holdin8 un$cur.d clains qirholn prioriry.gainsr
 {r dcbtor or 1te prcpeny offi€ deblor. 6 of the dat. of filing ol lhc D.tiliotr. Th. cmpl.t. account numbd of ey aMu.i the debtor hos *ith lh€ cadilor is
 ustul lo rhc trusi4 4d iI€ cediror ed may bc provided ifihc dcbtn chl)lB ro do h. lf ! nind child is a ccdiror, sl,rc oe child! inirisls lnd lhe .ane and
              child! p.Mt d g@di . sucb s 'A.B , ! nitror child- by Jonn Dc. eadi&." Do not disclosc fte.hild s naft. Sft.II U.S.C. g I 12 ed l:.d.
 addtcss of lhc
 R.   Bmkr P 1001n). Do nor i.clude claims |isred in scheduld D md L. lf all cEdirm qillf,or ft on rhis p.gc, ce d€ conlinusrion sh€et prwidrd
       IIfiy fldy orhcrrhd.       spousc in   sjoi   casc   neybejoindy lilble on acllin. place d "X" in   rh€ column lsbclcd   "Codcbro/, jnclude ihe mrity on thc
 appmprhte sh.dulc         ofceiirou. &d cmpLrc       schcdulc H      -CodebiN. Ifajoi petiiior is lilc4 $src sherher husbdd. wi[c. bo$ of$en.       or ln€   n&illl
 coDnunity n.y bc li.blc on ech clain by pleing             d   'H", 'W'. ',,"- o'C' ii lh! olDn lab.led 'H6band. Wife- Joinq r ComdiIr".
      ll ft. clain is oonrn8mr, pbc. d 'x" in $c colllm labolcd Conringeni'. Ifrhc cl.in ir unliquid,sr€d, plmcu'X" in th. coluhn hb.lcd 'Udiquidslsd'.
 Itftcdainisdispulcd.placeaf,"X"inthccolumnlabeled"Disputed'(Youmlyneedlopldccan"X"innorerhdoneotrhoseln6colunns.)
    Rc?on lhe rolal ofall cl.ins liircd on this $hcdul. in de box labelcd "Toral' o dr lsi sher of lhe snpleled sch€dulr. Repon ftis tord also o. rhc
 Sumn4y ol Schcdul6 dd, if$c debtd is & indiridud snh primdily msumcr debrs filing . ce under ch.prq 7, Epdr this torrl ale on $. S6Iislicd
 summaryolCensin lhbiliri€s ud Rclared Dara.

  E     Ch*[ fiis   bl)x   il debbr hs no.rdiro6 holdirg unNwcd nonprionl! cllins b repon          on   rtis Sch.dlb n




Cr.dilo/s Name and MailingAddres
                                                                    >E    Dare Claim was Incur.cd und
IncludinS Zip Codc.                                                       Consideration for Claim. lfClaim
                                                                          Subje.r 1l) ScroB: $ Statc.      's


Ac.oonl Number: 54670200594 12701                                    D    3lv20t4                                                                                  6494.59

PO. llor 80027
Salinr{. CA939l2-00:7


Ac.olnr titrnber: I 81090                                            D    lt21t20t4                                                                                    233.00
C&dioloSy Asciatcs ofNW lDdiana PC
P.O. Aox 3519
Munslcr.lN 46321-0539


A.colnr Nrmberi 4007422873                                           D    3]r1t20t4                                                                                    487.80
ACI-
PO. Box 27901
wesi llis. wl 53227-0901



AccouniNunb$i I0Mli36l03                                             D    2013                                                                                    2t770.10
Ford Mohr Credir Cbmpany l.l-C
Fr€edmo Anseimo l.indbe€ LLC
l77l W. Diehl Rd.- slc 150
P.O. Box 3228
NaDlnillc. IL 60566-7228

                                                                                                                                                                t28.9E5.49
        I   conlinuition sh*ts otlachcd
                                                                                         (U* o.ly on 161 pase ol rhc @mpl€rcd Scncdul€ I;.)
                                                                     (R.pon al$ on Suftn,ry offttcdlle rnd, ifapplicable, on iltc Shri*ical
                                                                                           Sumnary ofcqrlin Lialini6 ud Rclar.d Dar&)
            Case 14-28869                 Doc 1         Filed 08/06/14 Entered 08/06/14 14:01:06                              Desc Main
omcid rorD    6F (12^)t)
                                                         Document     Page 20 of 29
 In Re:




                                                          >9    Dare Claim    w6   Incuned and
Credilods Narne and MailiDgAddress
Including Zip code.                                       5!    considemtion for claim. Ifclaim is                       '=
                                                                Subjecr to   serofi   so Slare.                               =
                                                          i:                                                                  )   A

Account Number: 156979-l 56979                             D    t2t0512013                                                                    392.97
City ofChicago
Dept. of Finance-Walcr Division
 PO. Box 6330
Chic€o, IL 60680-6130

Account Numb€r: 54987-9                                    D    1|22t20t3                                                                      90.87
 Suburban E-Z
 5615 W. 951h Strcd
 oak l.aM.ll- 60453


Accodnt Numbe.: 8,149458000                                l)   2127t2014                                                                      66.51

Coml-ld

 Po. Box805379
 Chica8o. IL 60680-5379

Account Number: 77397807162299                             D    20t3                                                                          149.66

AT&T
PO llox 6416
Caiol Slrelm.IL60197



 Account Number: 17000078GR2J62369A                        D    2014                                                                          llt60
 llnion Plus Insurance ProSram
 l).O.llox 9
           '59
 Phoenir. AZ 85068-9159



Account Nunber: 5500005099875                              D    212y2014                                                                      2:12   t8

PO. Box 19100
Crcen 83y. WI 54307-9100



Account Number: 5;1670200594 | **    r*                    D    o1/06t2003                                                                  6t59.00
CapitalOnc
PO. Box 30253
ssll l,ake cil); uT84l30



                                                                                                                                           s1.202.79

                                                                                                                                          $36,188.28
                                                                             lus only on l6t laee oflhe conpletd Schcdule F.)
                                                           (Repon aho on Sunnary ot Schedules a.d. if atplicable. of, $e Sialisdcal
                                                                                sunnu'." of cen.in Liabihies$d Relalcd Dala.l

sncer   n6 I oi I     cotrtinuation shets alr4chcd to
Schedule Cr.dil-os Holddg Unsec!Ed Nonpriority Claims
            Case 14-28869              Doc 1        Filed 08/06/14 Entered 08/06/14 14:01:06                                Desc Main
Officirl tom6r(12r'0?)                               Document     Page 21 of 29
In Re;




                                                               Dale Claim $as Incured and
Credilor's Name md MailingAddress
Includins Zip Code.                                            Considedion for Cldim lfClain        is
                                                               Subject 10 Setoli so s1ale



Accou    Number:5287650'141
Medical Business Bureau

t'aik Ridgc. IL 60068




                                                                                                                                        $350.00


                                                                              (Usc onlv on   Id   paep ol Oe cofrpletcd schcdule   n)
                                                             {Rebonrl,oonsumnaool s;hedule'dd rl afplicablc onlheSurNkal


 siEet io.      oil      codin@tion sh41s att8ched to
          -L
 Schedrlcof credilo6 tlolding Unreclred Nonprioritv clains
              Case 14-28869                   Doc 1       Filed 08/06/14 Entered 08/06/14 14:01:06                               Desc Main
Otllclrl Fon 6c {12r'0t)                                   Document     Page 22 of 29
In Re:                                                                              Cas€   No.
                                       lt   bfo.                                                                     (if   holn)


                         SCHEDULE G . EXECUTORY CONTRACTS AND IJNEXPIRED LEASES
         D€s.nbe dll qecltory @nI@ls of4y .atuE od all une\prFd tee3 ol rcat or peBonal
                                                                                            proprn] lmlude dv lidsb@
                                                                                            whelhfl debld is lhe lsor or
                                                                                                    -
         isieFsts. siate natu€ofdcblols inte61in conlracl, ie, 'Pwche', 'Agmf elc Shle
         isser ora res. prcvio tnc    nm   ed conpbr€ mailinS addresss ol tll o$tr Panr6 lo dh   leae d cont_acr d$c'ibed   lf
         ;;ino' child is . pdty to on of ile less oi @itacts ilale the child! innd5 ed the nme ed addJts orrne ( hildbI12p@nt
                                                 by Jonn Do€, su&die." Do mr di$los€ $e child\ nane sc lI Usc Q           ed
            i"rai"", t""r' L "i.s..
         "i
         F€d. R. Banrr P i007(i).   ".lnorchild,

   I     ch.ck lhis box ifdebtot h6   no sx€cltorv conh.cts or   unqpiEd lees



                                                                                Descnption ofcontnct or Lease and Narure ofDeblo/s
                                                                                Inter€si. State whethe. Less€ is for Nonresidenliar Real
 Nane and MailingAddrcss. Including Zip Cod€,                                   Prop€ny. Slate Contract Number ofAny Govemm€nt
 ofOther Parties to Leas€ or Contmct
           Case(l/ft)
                 14-28869                 Doc 1     Filed 08/06/14 Entered 08/06/14 14:01:06                                 Desc Main
Olftld Far 6lf
                                                     Document     Page 23 of 29
In Re:                                                                               c8se No-

                                      D.btot                                                                            (ifblolrlr)



                                                        SCHEDULE              H.   CODEBTORS
     Provide rh€ infomslion requGrcd Mccmins rny p6on or ..dty, orhcr lhln . spoo$ in       .joi
                                                                                      cas., that is rlso lilbl. on {ny d.bls lisLd         !y
   d.bro. intu ichcdnl6 of credito6. lmludc .ll 8r@tou ad @itn6. If 0E &htr Bi&s or 6id.d in a @mouity proDcrly stdc,
   colnlnoll*..lrh,a rdrito.y (iNludn8 Ah*!, Ariroi* CdiforDia ld.lp,     t   ftio4 Ncvr.lr, Ncs Moaco, P'sro Fjco. Tq6, wrstingroi, d
   Wisomin) $lhin     $.                   innEdiatcly prcccding thc cornmenc.m€nl ofllE ca!.. iddtry dle namc oflhc dcbio/s ipo6c ard ofdy
                           eigrn ycar period
   fod€r spol.e elb 6idar d 6idd wilh lh. dehor in lhe ci)munil, p.op€ny slnc. cmmonv.dlh, or lnilory lnclude all nam.s us.d by rhe
   nm&blc srous. duinS lhc eighl Fars imrEdiicly pcc.ding lh. corm|crrcrno ofdis.G.. lr. minor d K is n.Ddchor o. r crldiro., n'l. Oc
   chitdd initi.k dd rhc nrrne and .dd6s of rt. child! pffcnt or 8u0rdi!!! such rs',4-4., a ninor child, by John Do., grardidr' Do ma disclo6. thc
   clildb n!re. S.c. I I U.S.C. $ I 12 ad f.d. R. B.nkr P 1007(f,).

   E     ch.ck ihis box if dcbld hs no cod.blos.


Narn€and MailingAddrcss of Codebtor                                            Namc and Mailing Address       ofCr€dilor
            Case 14-28869                    Doc 1         Filed 08/06/14 Entered 08/06/14 14:01:06                                       Desc Main
                                                            Document     Page 24 of 29




                                                             ltlinois. Edlcn Dirision
 un ted slares Bankruplcy court    fd ihe: Nonnen Disriictof
                                                                                                               Check il lhis is:

                                                                                                           nAn        amended tling
                                                                                                           l-'lA     suppl€menl showing posl'pelition
                                                                                                                           13 iflcome as of llle lollowing dalei
                                                                                                           -chapter
                                                                                                                  Mr,r/oo/YYrY

Schedule l: Your Income                                                                                                                                     12t13

B. iq c6m.tere and.ccurate           4    oo$tbte. tr rwo m.rrred p.opl6.rc firing rog.$er tDebror         1   .nd Debtor 2). bolh !rc €qulllvr6Fodlble for
       lili".iiir*1tri. irGu ire manroo anu noinfl;s
!i.,-j";iii                                          lohfly, a;d y;ur 5du6. llvlns wlth you,lnclu.,o rnlom.tlon ahout vour.pos.e.
                                                                                                      13

il.H;'#;;;;;;;;;;;i"i     i,*li"Jni'qiiir' y.u.pas€
                                                 oo-iot iniiuac i'nromirion about your Epou.e. It mor.3p.ce B n.€ded, an,ch a
                                                                 n.me and @s numb€r lir known) An'wer €very qu€rion'
i"i,1liii.t,i"ii"     tr'ri   i"'i"-n ir,i   op       writ€
                                                  or anv aa-oirtonit                 vour


Ed               o"sc,tt"
                                =-proy,'"nt
1. FllllnyourenPloyment                                                                                                        Irebtor 2 or non'Rllns 3porl3.

       It you havs   n@
    f,f#::'""f;1iff:fr#:l
                          than on€ lob,
                                             EmproF€nt6t.tug
                                                                         f_'1
                                                                         ,L-J                                                 Itr
                                                                          n
       lnclude pad-time, easonal, or

                                             O.cubation
    occupalron may lnclld€ student
    or homem6\er, il it app ies.
                                             EmPloY€1. n.me

                                             Employ.r'€    addros       oq<   lJlh   Road




                                                                           C'ty

                                             How long.mployed the.o? 2 donths


l#tr             cr". o"t"r.lbour tbntnry rncome
       Estdar. mo.thty incono      a3 of th€ date you lit€ thi. fom. li you hav€ nothing to €port lor any line, Mil€ 50 in lhe space. lnclld€ vour non-tl ng
       spouse unloss you ae s€parated.
       I vou or yolr non-iilno spoLrse have more ftan one employer. combjne rhe inlomation for all mployers ior that p€6on on lhe lines
       oale. yoL .eed moe space dn&h a seDa6re sreet to ll'i5 fom
              'f
                                                                                               For Debtor             I
                                                                                                                     Fo. Debtor 2           d
                                                                                                                              non'nIns6Pouse

  2. Lisl monthly grosi wag€, t.b.y, and commi.6ion. (beide all pattoll
        dedoclions). linot paid mornhly. @lculaie $h6t lhe donlhlv Mge w@ld             be   2
                                                                                                  s,_Ll!!?L                   $_


                                                                                                 [;r
  3     EstidaG and list monthly ovenim. pay.                                                    +$                          +$_

  t.    Calculato gros incom.. Add li.e 2 + line 3                                           . l-l                                 $___   llL

                                                                       schadula l: Yolr lncom.
             Case 14-28869                  Doc 1              Filed 08/06/14 Entered 08/06/14 14:01:06                                           Desc Main
                                                                Document     Page 25 of 29




     Copylln,th.r.,......-.-..........                                         .....................t   4.     s__i   !t!?L
5 Llrt .u pryroll d.ductiont;
     5a.    Ta(     .dlc.rc..nd So.ld S6utitv d.ductlon.                                                5a. r___ll!gL                   s_
     5b, f.n.Liory conrrihdont to. cridfi.nt Pl.n3                                                      5b. s_                          s_
     5c, Volrnt ry coni.ibutlon. ior rcdFm.Bt Pt  .6                                                    5c. $_                          s_
     fd. R.qulrod r.paym.nl! ol rtliret|.nt tund lo.n!                                                  5d. $_                          s_
                                                                                                                                        l_
     51. Don.dic .oppo.l         obllgrtoG                                                              5r $_
                                                                                                               .       l2ll
     5h     OlhGr   d.ducddi.    Sp€cdy:                                                                5h +s                       +   9-_
 6   Add    lh. pittoll d.ductlon..    Add tines 5ia + 5b +       5.   + 5d + 5€ +5t    i   59 +5h.     6.          r.192.92                      0.00


 7. c.lcul.!. rolrl monthly       t k.+om       F.y. Slbthct lina        6   lom   line 4               7.


3 Llrt .lr otlEr ln@rc ngul.rly            ..elsd:
     0a. Net lncomo lron r€nt|l property rnd ttom opor.tlng                    r bBln.3.,
            proiordon, or Lm
            Aneh a srarehdr for each popsly and busin€ss shoring lross
            rece,pls, o.dinary a.d neesry busin.s e4ds6i and lh€ lolal
            rcnlhlY net irrone.
        hrer8t fid dlvltl.nd.
      8b.
     8c f.nlly lupport p€F.nli fttt            you,   .   nondling .poute, ot . d.p.n.Lnt

            lrclude 6lrmony, spoosalslppon, child supp..t, mainl.M@,                   drc@                                             6_
            senbment, and pmperty soltlemenl.
     8d Un.mploym.ni cohp.nullon                                                                        8d. s_                          5_
                                                                                                        8€. s_                          $_
      8t. olh€r     gov.mnr .'tl.trnc. lh.t           yoo Egol..ly
                                                               't@lE
            rnclud€ cash assisranca and lh€ valle (it knoM) ol any mnssh .ssrstarce
            rhar yoo leceiw, such as tood slamp3 (ben€tils lndsr lh€ supplemontal                                                       s
            Nlrr ion Assista@ Pr€ram) d h@sing slhsidi€g.
                                                                                                        8L

     89. Penslon or rctl..mont        lncom.                                                            8s. $_                          s_
      8h.   olhG monlhly lncom.. Spsofo:                                                                th. +s                      +t
9. Add .ll orh.r lmore,         Add   li6   8a + 8b + 8c + 8d + 8o + 8f +89 +           th.             , T;---;;l
                                                                                                          L---:-
                                                                                                                                        S         ooo

1o.C.lcul.l. monlily lncoms.      Add line 7 { line 9-
     Add rhe edn€s in line 10 tor Debtor 1 and Debt@ 2 or non-fllhg spouso.                             ,ol-l lll"'l*                   $                         f--r.';;_l
                                                                                                                                                                  l-l
1r. Siarc all     oth.r r€gulrr @.lri!odon3 to th. e,een..r lhlt you ll.t ln Sctpdrt J.
     lnclude cdhburions turd 3n untuEied pEnner,               mdbols        of y@r housohold, tour d€p.ndenE, your            .!ffml6.     End
     oth€r ftisds or relativgs,
     Do   .ol imludo   any   amunts d6ady induded         in   lires 2n 0 or am@nt! ihat        e     nol availabl€ lo pay sxp€nses lisi€d in Sch€du/€   J
                                                                                                                                                                  s_
                                                                                                                                                                  tr;I
     Speit:                                                                                                                                              11   +
12 Add rns .mount ln lhe l!.1 colunn oa lln. l0 to lh. .nount ln lln. 11. The @sull is !h€ Mbin€d monlhly in@m6.
   wft€ that afiount on th€ sudnaryotscn6du/s and sta{s0'ca/ sunnary olcenain Llablili66 ardRd/aled Drla,lill applles 12


 ,3fryo!.rFd.n incr...! o. d.cN..                     ulthln     dt y..r rfr.r Fu           fiL thl. form?

     I      v*.   e"ouin'


                                                                             Sch.dul. l: Your ltrcom.
              Case 14-28869                  Doc 1              Filed 08/06/14 Entered 08/06/14 14:01:06                                 Desc Main
                                                                 Document     Page 26 of 29



    D€r$     1     Jdes                                                     czellosiat
                                                                                                            Check il lhis is:

                                                                                                           f]An amended tirine
    Un r€d srar€s Bsnkruprcy   coun rq $€
                                                                                                           EA slpplement showing poslp€lilion         chapterl3
                                                                                                               exp€nses as oflhe lollowing dale:
    Caso    iumb€r   -_                                                                                            t 7-6?-\1W-
                                                                                                           E   A sepa€te filing for Debtor 2 becaus€ Deblor 2
                                                                                                               mainlains 6 separate household
 Official Form B 6J
 Schedule J: Your Expenses                                                                                                                                 12t13

 B. as oomplor6 and accuEro as pG3ibl.. r lwo m.rnd p€opl€ .n fllng tolelh€r, both ar. .qually r€spondbl€ tor .upply'ns coreGt
 lnfodation. lf mor€ !p.c€ l! n6.d.d, att .h anoth.r !h..r to thl. fod. On th. top ot .ny .ddldon.l peg.t writ6 your n.he .nd @s numb.r
 (lf knoqn). an.wer .v€ry q!.stoo.


lf,                **n-         to!. rro{rhord

    {]t'lo. eotottn" u.
    n Yes- D6 Debtor 2llve ln. t.pa.!!.              hou..hold?
                 8""
                 E Ys     Debtd 2 nlst lie a separale schedlle J

2     Oo you     havedeP€ndenlr?
                                             tr                                           n p.nd.nrr d.tr,rn.ht!   ro           o.p.nd.nf.    Do. d.p.nd.nt tv.
      Do   rct risl Oeblor'l and             E    Yss.   Filr   olr this inloDalion for
                                                  oach deponden|.......................
                                                                                                                                              *tth you?


    Do nol stat6 the d€p€ndents'                                                                                                20




3. lto your arpds€. lnclud€
    erp..s..      of peopls othor than       C"o
    your..lf a.d yolr d.pond.nts?            Ey€s
@l               .r,,-.,. to',        gnsotn! itonrhly ExD.n.!l
Estih.te you. .xponses .t of Fu. bankruPtcy nllng d.!t unl.n !@u .rc utlng thas fom .r i 3uppl.m.d ln a Ch.pter 13 @e lo .ePo.t
exp€n*6 .r of r dr!. .ffor th. banl$lptcy iE nl.d. r $b 13 a .uppl6n.ntll Scrr.dlL J, ch.ck lh. box rt th. iop ot rfi. tonn rnd flll ln tn.

lnclud.      .lp.n!.3 p.ld for w[h non€3h go@mrent .&l3t nc. if yoll know the valuq
of 3sch      *3lrrane .nd h.v. lncludod it on S.n.d!le ,: Your ,r.!mo (Ofii.ial Fom B 61.)                                           Your.xpe.r
4 lh6     rcnl.l or hom€ own.chlp           o&eBo.    for your rullden.., lrclldo 1t6t mortgage paym€nts and
      any €.1 lor the grolnd or lol
                                                                                                                                     $            7A6 2?


      lt.oi includ.d     ln llne a:
      a.     Real6lal6lates                                                                                                          s
             Prop€/ry, hoheownor s, or r€nt€fs ins06nco                                                                              $
             Hohe mainlenance, cpan, and upkep erpenses
             HomeMors as3eietion orondoDidlm does

                                                                     Schedul. J: Yol'r    Erp.n*s
             Case 14-28869                       Doc 1       Filed 08/06/14 Entered 08/06/14 14:01:06                                               Desc Main
                                                              Document     Page 27 of 29




 5    Addltlon.l mongEle p.yrn.nL for your                Eddoc.,       such   s     hdne .qdly l@.s                                     5l
 6.   lrdllt.ti
      6.     ELclncjry, h65r, naruEl gas                                                                                                 6..    t                .lll0o
      6',b waror, se$r, ge6ag6 collecton                                                                                                 6b     $ _-,-   _____   q
      6c.    Tel6phoe, @[ pnois, lnleFer. ssr.rrire, a.d €bre setoices                                                                   6c.    $_,_ _?4q
                                                                                                                                         6d.    $-
 7    F@d .nd hou6okdphg.uFPlbs                                                                                                          7      s                650.00

 3. child€r. ..d chlldr.nl .ducailo. co.tt                                                                                               3.     $_
 e    Clolhlig, Lundry, .nd dry cLrninq                                                                                                  e      s                24000

10 Pdson.l crr€ product! .nd..dl6r                                                                                                       l0$
11 l.dic.l rnd.bna.l .4.n...                                                                                                             r1.    $                 45.00

12. TEniportrtlon. lnclud€ gas, maini€nance, bus G tain laE-                                                                                                     600.00
                                                                                                                                                s
      Do not include @. paydehls.

13 Ente(rimrt, clrb!, rrcr.f0oo, n.s.P.FB, m.gzln .,..d b.ok                                                                             13.    $                250 00

14 Cha.itrbl. @ntrlbutlons and Eliglo!. don:tlon.                                                                                        14.    $


      go ml include iBu.a.ce d6ducl.d             tim   your pay   d   includod ln    li6    4   d   20,

      1$      icudrce
             ul6                                                                                                                         15' $                    35oo

      15b. Heallh iElranco                                                                                                               150.   $
      15c vehiclo   insu.a.@                                                                                                             1ft. 3                   esqq

      15d O|l|er tlsuEnco, Sp€o,y-                                                                                                       rsd S
15 Trx6.       Oo not include   r*s     deductod lmrn your pay         d   indoded in lln63 4 or 20.
      sp6ry:
17 lns!.llm.nt      or   l.l.. p.Fn.nL:
      17.. Car paymenE lor Vehid€            1


      17b. Car paymdb 1q V€hic          e 2




13    You.   p.lmnt       of .llmony,   mlint mnc., .nd .!pp.rr thrt yo!                    dld not r.pod     s   d.drct d                14.
      fr@ your p.y on lln.      5,   Scto4rt€ ,, Yo[ rrcorn. (Otfchl Fom B tl).

19. Other     p.F.rt      yoo   m.k lo.uppdt oth4             who do       lot llnwlth       you.
                                                                                                                                          t0$
20. Orhcr    n.l Fop.rly.xC.M..ot                 ltrclud.d itr lln6 4     s   5   ol lhl. aom       d   on Scrr€dor.   t   Y@t h.omo.

      2oa. Morlgag€s ofi olh6r propeny                                                                                                   20".   $

      20b R€61Flats taxe3
      20c. Pbp€rly.      hofrMeis,      or   .al€/s     insu6n@
      20d. Mainl6an@, epan. and upke€p expenses                                                                                          2od.   $

      20.. Hmeos€is a$@ialion d @ndo.ntnlh dues


                                                                       Sch.dub J: Yoqr           Elp.|!5
              Case 14-28869              Doc 1         Filed 08/06/14 Entered 08/06/14 14:01:06                               Desc Main
                                                        Document     Page 28 of 29




                                                                                                                    2r,   +s_
22. You. mo.thly 3rp€d.e!.       Add   lin6   4 lh.ough 21.
       Tho 6suh B   yolr trbnthlY op€ns€s.
                                                                                                                          s         3,?20.27




23.   crl.ulat   your monlht n|l lnoone.
                                                                                                                                    3,125.35
      2U. cqy lin612 0M enbiae<r tudttly inc,re)hotr               Sche&le l.

      23!. copy yo!. mndrly grp€nss lioin lin€ 22 abole.                                                            23b -$          3.720.21


      23c.    subtEcr tlur Mthly €xp€nses lrom your monthly lncorn€.
              The Esult is ydr r,orlrt nal ,.rdta.
                                                                                                                          s             5.08




24 Do you      dp..t .n ldcror-   or   &croat     ln your   etp.n... witfih tn. yllr .lt   r you   fl,   lhb tom?
      For €Empl,.. do ytu etpet to fnish payin! ld yar car loan $$in th6 y€ar or do you .4.cr your
      mongag€ psytn€nt lo incfoase or dec.easo b€cause ol a modifcalid lo th€ lems ol tlur Bongag6?

  LJ     No

  !vos.            earan r'"a,




Oftial Folln B 6J                                             Sch.dulc J: Your El9€ll6€t
               Case 14-28869                Doc 1         Filed 08/06/14 Entered 08/06/14 14:01:06                                            Desc Main
                                                           Document     Page 29 of 29
                                                                                                                                         ('fkno$n)


                                      DECLARATION CONCERNING DEBTOR(S) SCIIEDULES

                                       DECLARATION UNDER PENALTY OT PERJURY BY TNDIVIDUAL DEBTOR

           Idccle under poalry ofpedu4 {hat I fiate reld the fd€going sumntry md sch.dul.s. @nsisling of 19 shets (to{d                     dst        on
           sunm..y plge ptc 2). sd ltal lbey are me sd orcct to lhe b6l ol ny lno*ledge, infomalion, dd belicl



               ?-    t-t'/

                                                                                                           Sirmlur.          of Joirt D.btor




                             DECLARAIIOT aND SIG:iAt I,RE OF BANKRUPTCy PETIIIO\ PREPARf,R (S.. lr t:.S.C. ! I l0)
I   d*lee uds
            pe@lry of pcrjury lhar: (l ) I    m a beloprct pdition pcpdt 6 d.fincd in II U.S.C. S Il0:(2)I pGPed 1nh deume for
comtensarion d hav€ prorided lh. debto.       rilh a copy of this dGunmt dd the.oiic6 ed int()@lion Equned nnder I I U.S.C. l{ I I01b).
Il0(h).dd142(b):(3)ilruhsorguidclineshavebccnprcmulgalcdpusu l lo tl U.S C. {i Il0(h) eting. mdimun le for s.Nias
cha.gcable lry banttuprcy pdirion pr.pdcE. I hse sir€n rh. debtor norice ollhe m\imm moul bchrc ptcpunS any d.cunni for llling fd                                         a
dcbto. or acscptiie any iec trm ihe dcblo( $ Equied undcr that scction; ed (4) I will nol accepl dy addnional noncl o. olh.r poPcrg.. fon
$e dcblor b(tore rhc filing f.c is paid in tuU.


    Prinl.d or liped N&nc dd Title. if ey- of Bolnptcy Periliotr         Ptpaer                      S@ial-5.curily No (Rcquifd by             I   I   U.S   C   $ I   l0 )
IJth. bahlturtc! pattuon       pvpav 6 notM nthwlrdl,         state   th.,arc. tilh ([a.r).   addes!. ard satuLse@       r   nunbet oJthc ofr.z. phnc'Pol rcsPonebte
pe^onuN          ret \rho stg,! th6d@tu.t




   Si8ndrEofll4ktuplcy Petidon Prep.rff                                                   Dale

Nd6 ed S€id Sccunty nuhh€6 ofall orhcr individualr               $ ho   prcprcd or sisled in prepdins rhis d@uncm.           unls   le   bdliruplcy                    ptpdcr   is
                                                                                                                                                         'elidon

fnorc      than ore pe^m    pepavt thr dmtunt- arach a.Ll'tnnal stsned sl,eeB nnJdn]ns lo th? lwrcpnat ofrcnt Foh,fu.dch PeBm
A banLtuptcj'pelition     tmpot4r\ldlrre to jot pl! r'ith the pmr6'a^ olnk II ur.l thc FeturalR ks oJ AarktuPt.! Ptoqtl@ nar resuh h
lirus o.   dpnfl,Nnt      ot   bdh. llU.S.Clll0:laU.sC.{Is6.




                 DECLARATION UNDER Pf,NALIY OT PERJURY ON Bf,HALF OFCORPOMTION OR PARTNERSHIP
                                                               nsncd 6 debbr in $is ce. dccld. lnds pcnalt! of pcrjury
                    thar I havc     rad thc foNgoing sunmary ofschcduler, consisling of shets (otal sho*r o. slnrry
                    p4e   Olaq    I )- ad thar rbe de ltue a.d codcct to lhc best ol ny lnolledge. infomalion. ad bcliet




                                                                                                        Slgnirur.   of   a!thoriad lnditidu.i

       Penrlty for making a Ihlse stalemcnt or concclling propl)ny: Fine of up to 3500.000 or imprisionmenl for up to 5 y!'aE or bolh.
       l8 U.S.c. {i 152 dd 3571.
